Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 1 of 20




            EXHIBIT 78
                               Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 2 of 20
                            NIH Public Access
                            Author Manuscript
                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                           Published in final edited form as:
NIH-PA Author Manuscript




                            J Expo Sci Environ Epidemiol. 2012 July ; 22(4): 409–416. doi:10.1038/jes.2012.31.



                           Using multiple imputation to assign pesticide use for non-
                           responders in the follow-up questionnaire in the Agricultural
                           Health Study
                           Sonya L. Heltshe1,2, Jay H. Lubin1, Stella Koutros1, Joseph B. Coble1, Bu-Tian Ji1, Michael
                           C.R. Alavanja1, Aaron Blair1, Dale P. Sandler3, Cynthia J. Hines4, Kent W. Thomas5, Joseph
                           Barker6, Gabriella Andreotti1, Jane A. Hoppin3, and Laura E. Beane Freeman1
                           1Division of Cancer Epidemiology and Genetics, National Cancer Institute, National Institutes of

                           Health, Department of Health and Human Services, Rockville, Maryland, USA
                           2Department of Pediatrics, School of Medicine, University of Washington, Seattle, Washington,

                           USA
                           3Epidemiology Branch, National Institute of Environmental Health Sciences, National Institutes of
NIH-PA Author Manuscript




                           Health, Department of Health and Human Services, Research Triangle Park, North Carolina, USA
                           4National Institute for Occupational Safety and Health, Cincinnati, Ohio, USA

                           5National Exposure Research Laboratory, United States Environmental Protection Agency,

                           Research Triangle Park, North Carolina, USA
                           6Information Management Systems, Rockville, Maryland USA



                           Abstract
                                The Agricultural Health Study (AHS), a large prospective cohort, was designed to elucidate
                                associations between pesticide use and other agricultural exposures and health outcomes. The
                                cohort includes 57,310 pesticide applicators who were enrolled between 1993 and 1997 in Iowa
                                and North Carolina. A follow-up questionnaire administered 5 years later was completed by
                                36,342 (63%) of the original participants. Missing pesticide use information from participants who
                                did not complete the second questionnaire impedes both long-term pesticide exposure estimation
                                and statistical inference of risk for health outcomes. Logistic regression and stratified sampling
                                were used to impute key variables related to the use of specific pesticides for 20,968 applicators
NIH-PA Author Manuscript




                                who did not complete the second questionnaire. To assess the imputation procedure, a 20%
                                random sample of participants was withheld for comparison. The observed and imputed
                                prevalence of any pesticide use in the holdout dataset were 85.7% and 85.3%, respectively. The
                                distribution of prevalence and days/year of use for specific pesticides were similar across observed
                                and imputed in the holdout sample. When appropriately implemented, multiple imputation can
                                reduce bias and increase precision and can be more valid than other missing data approaches.


                           Keywords
                                agriculture; cohort studies; missing data; pesticides; precision



                           © 2012 Nature America, Inc. All rights reserved
                           Correspondence to: Dr. Laura E. Beane Freeman, Occupational and Environmental Epidemiology Branch, Division of Cancer
                           Epidemiology and Genetics, National Cancer Institute, 6120 Executive Boulevard, RM 8112, MSC 7240, Rockville, Maryland,
                           20892, USA. Tel.: + 301 451 8793. Fax: + 301 402 1819. freemala@mail.nih.gov.
                           CONFLICT OF INTEREST: The authors declare no conflict of interest.
                                   Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 3 of 20
                           Heltshe et al.                                                                                            Page 2


                               INTRODUCTION
                                             Missing data is a common problem in epidemiological studies and the statistical
NIH-PA Author Manuscript




                                             implications of ignoring missing data are well known, including loss of statistical power and
                                             potentially biased estimates of association. The multiple imputation technique1 is an
                                             approach whereby the investigator replaces each missing value with several plausible values
                                             sampled from a probability distribution, conducts multiple analyses for replicate datasets
                                             built from each plausible value, then combines the multiple results to account for the fact
                                             that the replacement data were imputed. Multiple imputation has been widely accepted and
                                             has been used to account for missing data in large national surveys and studies, including
                                             NHANES III,2 National Assessment of Educational Progress,3 Children’s Mental Health
                                             Initiative,4 and the Framingham Heart Study;5 however, detailed accounts of the application
                                             of multiple imputation and particularly the evaluation and validation of the methods are not
                                             often published. This paper demonstrates a practical implementation of multiple imputation
                                             and is vital for investigators of the Agricultural Health Study (AHS).

                                             The AHS is a prospective cohort study designed to evaluate the effect of agriculturally
                                             related exposures on health outcomes. The study includes 57,310 licensed pesticide
                                             applicators from Iowa and North Carolina, as well as 32,345 spouses of licensed applicators,
                                             who are not included in this imputation. In Iowa, both private applicators, who are primarily
                                             farmers, and commercial applicators were included. In North Carolina, only private
NIH-PA Author Manuscript




                                             applicators were enrolled. Cancer incidence and mortality are obtained by annual linkage to
                                             state cancer and mortality registries and to the National Death Index. Exposure information
                                             is collected by questionnaire. In the Phase 1 enrollment period (1993–97), applicators
                                             provided information on the use of 50 specific pesticides through completion of two self-
                                             administered questionnaires that included information on demographics, health history, and
                                             lifetime farming and pesticide use practices.6–8 The study was approved by the Institutional
                                             Review Boards of the National Institutes of Health (Bethesda, Maryland) and its contractors.
                                             From the enrollment data, two exposure metrics were developed; the first was lifetime days
                                             of pesticide use, calculated as the product of years of use of each specific pesticide and
                                             average number of days used per year. The second metric, intensity-weighted lifetime days
                                             of use, incorporated information about factors that might impact exposure, such as the use of
                                             personal protective equipment, whether the applicator mixed pesticides, performed
                                             equipment repair, and methods of application.9 Five years later in Phase 2 (1999–2005), we
                                             administered a computer-assisted telephone interview questionnaire that described pesticide
                                             use since enrollment. Specifically, participants were asked about the last year that they
                                             applied pesticides, which was denoted as the Phase 2 reference year, and the type and
                                             frequency of use of specific pesticides. A total of 36,342 (63%) of the original participants
                                             completed the questionnaire; 8% had died between enrollment and the administration of
NIH-PA Author Manuscript




                                             Phase 2, 15% refused, and 14% could not be reached.10 For epidemiological analyses,
                                             pesticide use information collected in Phase 2 was cumulatively added to information
                                             collected in Phase 1 for both aforementioned exposure metrics, using details of specific
                                             pesticide use.

                                             When using pesticide exposure in an analysis, there are several ways to handle missing
                                             Phase 2 information, including omission of those subjects, simple imputation (e.g., mean
                                             value substitution), or ignoring non-response in Phase 2 and implicitly assume zero pesticide
                                             exposure after Phase 1, which would be erroneous for most participants who did not
                                             complete the Phase 2 questionnaire. To correct for this potential bias, a data-driven multiple
                                             imputation for the 20,968 applicators (37%) who did not complete the Phase 2 questionnaire
                                             was employed. This paper describes the complex, multi-step process used to impute missing
                                             information on pesticide use from Phase 2 and an evaluation of the imputation procedure
                                             based on a holdout subset of participants with complete data (i.e., individuals who


                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                   Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 4 of 20
                           Heltshe et al.                                                                                             Page 3


                                             completed both Phase 1 and Phase 2). We also discuss the assumptions and advantages of
                                             multiple imputations.
NIH-PA Author Manuscript




                               MATERIALS AND METHODS
                               Imputation Strategy
                                             An overarching principal of multiple imputation is to model the response of interest, in this
                                             case the use of pesticides in the interim period between the administration of the Phases 1
                                             and 2 questionnaires. We used covariates from participants with complete data from both
                                             phases, and then applied that model to participants missing Phase 2 to obtain estimates of
                                             the missing data. Our specific multiple imputation procedure imputes four primary AHS
                                             exposure metric variables of interest: (1) use (yes/no) of any pesticide in the interim period
                                             between Phases 1 and 2; (2) use (yes/no) of 50 specific pesticides in the interim period (see
                                             Table 1); (3) number of days of use for a specific pesticide during Phase 2; and (4) last year
                                             of application of any pesticides within the 5-year period between Phases 1 and 2 (Phase 2
                                             reference year). Phase 2 respondents report use of many pesticides that were not specifically
                                             on the Phase 1 questionnaires; however, we limit this imputation to the subset of 50
                                             pesticides that were chosen as the focus in Phase 1. The value of days of use per year on the
                                             Phase 2 questionnaire is a discrete count variable that was collapsed into categories and
                                             therefore skewed, and reference year is an ordinal variable. We use logistic regression and
                                             stratified sampling to impute the 102 variables (any use of pesticides: reference year of use,
NIH-PA Author Manuscript




                                             and for 50 specific pesticides: any use, and days per year) from Phase 2 that are needed to
                                             construct the pesticide-exposure metrics in the AHS.

                                             We withheld a randomly selected subset (20%, n = 7269) of participants from both Phase 1
                                             and Phase 2 data to assess the proposed imputation method. We compared true and imputed
                                             percent usage and days/year of pesticide use within this subset using graphical displays and
                                             calculated the Brier score and Brier skill score11–13 – measures of prediction accuracy. After
                                             assessment, the complete data were used to generate the final imputed datasets; nothing was
                                             withheld. All analyses were based on AHS data releases P1REL201005.00 and
                                             P2REL201007.00 and performed using SAS Version 9.1.

                               Use of any Pesticide
                                             The first step in the imputation process was to impute the use of any pesticides since Phase 1
                                             using subjects who completed both Phase 1 and 2 questionnaires. Both the enrollment and
                                             the take-home portions of the Phase 1 questionnaire were used in the modeling process. The
                                             use of any pesticides was a binary variable, and we therefore used logistic regression to
                                             model its probability based on Phase 1 responses. We considered all variables from Phase 1
NIH-PA Author Manuscript




                                             that had the potential to be associated with either missingness or pesticide use (see Table 2
                                             for candidate covariates). We first conducted a univariate analysis of Phase 1 variables,
                                             except the pesticide-specific variables. The variables most strongly predictive of use of any
                                             pesticide on the Phase 2 questionnaire were sex, marital status, farm ownership, farm size,
                                             days/year mixing pesticides, percent time personally mixing pesticides, percent time
                                             personally applying pesticides, and application of any pesticide in the prior year. Covariates
                                             associated with non-response to Phase 2 were continuous age, education, state, applicator
                                             type, and years mixing chemicals.10 These variables and covariates were forced into the
                                             logistic regression model. Other potential covariates from Phase 1 (Table 2) were included
                                             or excluded based on the SAS step-wise regression procedure, with entrance and removal
                                             criteria of P≤0.001 and P>0.01, respectively. Strict criteria were set because the dataset of
                                             individuals with complete data was so large. See Table 2 for final covariates in the model.




                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                   Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 5 of 20
                           Heltshe et al.                                                                                              Page 4


                                             We used the aforementioned logistic model with covariates based on Phase 1 data to
                                             compute a predicted probability of the use of any pesticides for each individual who did not
                                             complete Phase 2 ( , i = 1, …, 20,968). For the ith individual, we imputed use (yes/no) of
NIH-PA Author Manuscript




                                             any pesticides as follows. With between 0 and 1, we generated five uniform random
                                             variables between 0 and 1, Zij, j = 1, …, 5. If       , then we assigned Uij = 1, otherwise
                                             we assigned Uij = 0, where Ui1, …;, Ui5 were the imputed values for use of any pesticides in
                                             Phase 2.

                                             For each individual and each imputation with an imputed “no” (Uij = 0), the 50 pesticide-
                                             specific use variables (yes/no) and the 50 chemical-specific days/year variables in Phase 2
                                             (Table 1) were set to zero. For each individual and each imputation with an imputed “yes” to
                                             use of any pesticide (Uij = 1), the 50 missing chemical specific use variables and days/year
                                             were then imputed.

                               Use of Specific Pesticides
                                             Using data from participants who completed both Phase 1 and 2 questionnaires, we applied
                                             the same process to generate a model for the probability of use of a specific pesticide in the
                                             interim period between Phases 1 and 2. However, we forced pesticide-specific covariates
                                             from Phase 1 (use of the specific chemical in the past year, ever mixed or applied the
                                             chemical in the past, number of years using the chemical, and days per year using the
NIH-PA Author Manuscript




                                             chemical) into the logistic model in addition to the 13 covariates for the model of use of any
                                             pesticide (see Table 2). The stepwise procedure in SAS identified other meaningful
                                             covariates for each pesticide, based on the entrance and removal criteria and likelihood ratio
                                             statistics. For each participant missing Phase 2 information for whom we imputed a “yes” to
                                             use of any pesticide, Uij = 1, we generated a predicted probability for the use of a specific
                                             pesticide and randomly imputed five binary responses based on a uniform random number
                                             generator. Five responses (yes/no) were imputed for each of the 50 specific pesticides, Vijk
                                             with k = 1, …;, 50. For those with Phase 1 and 2 data, it was not uncommon for participants
                                             to indicate applying or mixing of pesticides in Phase 2, while providing no affirmative
                                             response for any of 50 specific pesticides considered. This could suggest use of other
                                             pesticides or the inability to recall a specific pesticide. For that reason, we did not require
                                             that at least 1 specific pesticide be imputed as “yes”, nor did we reverse the order by first
                                             imputing the 50 pesticides and then infer overall usage.

                               Days Per Year Use of Specific Pesticides
                                             For each individual with an imputed “yes” to use of a specific pesticide, Vijk = 1, we next
                                             developed a procedure to impute days/year of use. Because the Phase 2 question for days/
                                             year had an ordinal response and because data were skewed and sparse, we implemented a
NIH-PA Author Manuscript




                                             stratified sampling scheme using participants who completed both Phase 1 and 2 and who
                                             reported the number of days/year they used the pesticide of interest. For those missing Phase
                                             2 data and imputed to have used a specific pesticide, we randomly selected days/year of use
                                             from the empirical frequency distribution derived from those with Phase 1 and 2 data who
                                             used the pesticide and who were in an appropriate stratum. The first step in this process was
                                             to identify an informative stratification. Table 1 indicates that the prevalence of the use of
                                             specific pesticides in Phase 2 ranged from 0% (pesticide use was discontinued) to >50%. For
                                             infrequently used pesticides, which were the majority, we could use only a limited number
                                             of Phase 1 stratification variables. By contrast, for widely used pesticides (e.g., 2,4-
                                             dichlorophenoxyacetic acid (2,4-D)), we could potentially use many stratification variables.
                                             However, to maintain consistency of methods across variables, we selected only variables
                                             most strongly associated with Phase 2 days/year use as stratification factors. After
                                             considering several possible stratification variables (age, state, applicator type, Phase 1 days
                                             use, and others; data not shown), we based the imputation of Phase 2 days/year of use of a


                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                   Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 6 of 20
                           Heltshe et al.                                                                                               Page 5


                                             specific pesticide on a stratification by Phase 1 days/year of use of a specific pesticide. Thus,
                                             for an applicator missing Phase 2 days/year of use of a specific pesticide, we identified the
                                             Phase 1 days/year of use category, then randomly sampled (with replacement) a value from
NIH-PA Author Manuscript




                                             the frequency distribution for Phase 2 days/year of use that corresponded to the same Phase
                                             1 days/year of use category.

                                             Finally, for those missing Phase 2 data, we also needed to impute the most recent year of
                                             farming activity. This year (see questions 10 and 13 of the private and commercial Phase 2
                                             Questionnaires,7 respectively at www.aghealth.org/questionnaires.html) was critical for
                                             calculating cumulative exposure to pesticides. Because reference year is an integer with a
                                             12-year range (1993–2004), we again employed stratified sampling with replacement. The
                                             primary stratification variable was the use of any pesticide in Phase 2. If the imputed value
                                             for use of any pesticide was “no”, then we defined 10 strata (applicator type [commercial or
                                             private] by enrollment year [1993–1997]). If the imputed value for use of any pesticide was
                                             “yes”, then we defined 50 strata (applicator type by enrollment year by age at AHS
                                             enrollment in quintiles). For each stratum, we computed the frequency distribution of the
                                             most recent year of farming activity from those with complete Phase 1 and 2 data. We
                                             constrained the imputed reference year to occur after the enrollment year and, when an
                                             individual was known to have died, before the year of death. If the enrollment year was
                                             equal to or within 1 year of death, we set the reference year to the enrollment year.
NIH-PA Author Manuscript




                               RESULTS
                               Imputation Assessment
                                             We assessed the imputation method by holding out a randomly selected subset (20%, n =
                                             7269) of the observed complete data and imputing multiple values for Phase 2 as though the
                                             data were missing. The “true” use of any pesticides in this subset was 85.68% with standard
                                             error 0.41%. The average of the five imputations indicated a prevalence of 85.25% with
                                             imputation adjusted standard error of 0.59%. This indicates that the logistic regression
                                             model underpinning the multiple imputation procedure did indeed preserve essential features
                                             of the data. Recall, the modeling process we used first generated a probability of use (the use
                                             of any pesticide, or the use of a specific pesticide) for each individual, . To assess the
                                             accuracy of the implemented prediction model, and how it compares with a “naïve”
                                             reference prediction (e.g., change prediction based on observed prevalence), we calculated
                                             the Brier11 and Brier skill scores,12 commonly utilized in atmospheric probability
                                             forecasting and risk prediction modeling. In the holdout set, let Xi be the observed use of
                                             any pesticides, Xi = 0 or 1, i = 1, …;, n, for the ith individual in the holdout data. Let be
                                             the predicted probability of use from the logistic model. The Brier score estimator is
NIH-PA Author Manuscript




                                                                       and is equivalent to the mean squared error of prediction; the
                                             smaller the value the better the prediction. To assess the utility of any prediction model, it
                                             can be compared to a naïve prediction using the skill score, SS = 1−B/BRf, where BRf is the
                                             Brier score estimator using a reference, or naïve forecast, p’ in place of the model
                                             prediction. In this evaluation, we use the observed Phase 2 prevalence of pesticide use in the
                                             complete data (N = 36,342) less the holdout observations (n = 7269) as the reference

                                             prediction,                   Xi, where n’ = N–n. For use of any chemicals, B = 0.1092, BRf=
                                             0.1227, for a SS = 0.1103, an 11% improvement in accuracy using the predictive model over
                                             simple prediction based on observed Phase 2 usage. Parker and Davis13 proposed a similar
                                             metric to the skill score, which was the sum of sensitivity and specificity, whereby the sum
                                             must be > 1 for the observed accuracy to be larger than chance. Figure 1 is a plot of Brier
                                             skill score versus the sum of sensitivity and specificity (pooling all five imputations for
                                             calculations) for overall pesticide use and commonly used pesticides (percent usage


                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                   Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 7 of 20
                           Heltshe et al.                                                                                               Page 6


                                             >0.05%). The two metrics are highly correlated (r = 0.925) and essentially measure the same
                                             thing, proportional improvement of prediction model over naïve/chance prediction.
NIH-PA Author Manuscript




                               Use of Specific Pesticides
                                             Table 3 gives the observed (“true”) and imputed prevalence for the 38 pesticides where
                                             observed prevalence >0.05%. The mean and standard error of a variable that includes
                                             multiply imputed values is well known.1 Therefore, for any chemical, let Xi be the observed
                                             use of the pesticide of interest, Xi = 0 or 1, i = 1, …;,n for the ith individual in the holdout
                                             data. The estimated mean and variance of the percent usage (prevalence) in the holdout data
                                             is:                  Xi and s2 = p × (1−p)/n, respectively. It follows that the usual standard
                                             error of the estimated prevalence p, is s. The prevalence from one of the m multiply imputed
                                             datasets is                      where        or 1, the imputed use of the pesticide of interest
                                             for individual i. Then, the overall prevalence estimate and its variance from the m (in this

                                             case 5) imputed datasets are                               and                   , where
                                                                           and is the standard error of .

                                             As expected, the multiple imputation estimates of the standard error are slightly higher than
                                             the “true” standard error because the variability of the random imputations are included in
NIH-PA Author Manuscript




                                             the estimates, and pesticides with the highest prevalence (e.g., atrazine, 31.47%) have the
                                             largest standard errors while rarely used pesticides (e.g., methyl bromide, 0.41%) have little
                                             variability. Imputed prevalence is generally lower than observed both in Table 1 (across
                                             Phase 2 responders and non-responders) and Table 3 (the validation set). The Brier skill
                                             scores in Table 3 show a range of improvement from none to 25% over the naïve, or
                                             reference prediction model. Models for aldicarb and chlorothalonil appear to perform the
                                             best (SS of 0.256 and 0.214, respectively), while the majority of pesticides fall between SS =
                                             0.05 and 0.20, including 2,4-D and atrazine with an 18% improvement in accuracy over
                                             naïve predictions. Some of the least prevalent pesticides did not benefit much from the
                                             implemented modeling scheme, and some of their skill scores were slightly negative (e.g.,
                                             EPTC, phorate, benomyl, fonofos, and trichlorphon). The variability corresponding to rare
                                             event predictions can be large relative to the naïve estimates, and can yield negative skill
                                             scores. Skill scores close to zero (negative or positive) indicate that the predictive model was
                                             of limited additional value for these pesticides.

                                             Figure 2 is a plot of the relative errors of the imputed prevalence estimate, to their
                                             respective true estimate, p, i.e.,               , for the 38 pesticides with >0.05% use.
                                             Relative errors, ε, are centered about zero, and mostly fall within ±0.20. For only a few of
NIH-PA Author Manuscript




                                             the rare pesticides (<1.0% usage) used in Phase 2 does the imputed prevalence differ from
                                             the “true” prevalence by more than 20% (e.g., petroleum oil/petroleum distillates, methyl
                                             bromide, maneb/mancozeb, trichlorfon, metalaxyl, dichlorvos, coumaphos, and phorate).

                               Days Per Year Use of Specific Pesticides
                                             We imputed days per year for a specific pesticide by sampling with replacement from the
                                             observed Phase 2 data stratified by Phase 1 days use of that pesticide. Figure 3 shows the
                                             box plots of the observed data from the validation dataset alongside the imputed data for
                                             days/year for three pesticides. Alachlor, diazinon, and 2,4-D were chosen for illustration
                                             because they were widely used and represent common usage patterns in the AHS cohort.
                                             The distributions of the imputed values for the three pesticides were very similar to those of
                                             the “true” data. The means (solid squares) were more sensitive to outliers for the less
                                             frequently used pesticides since fewer than 200 individuals reported use of those pesticides
                                             in the 20% holdout set. Comparing the observed reference year with its imputed value,

                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                   Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 8 of 20
                           Heltshe et al.                                                                                             Page 7


                                             Figure 4 indicates that for 90% of participants with reference year 1998 through 2004, the
                                             imputed years were centered around the expected year. When the “true” reference year is
                                             1994–1997 the sampled imputation values were higher than expected and indicated
NIH-PA Author Manuscript




                                             bimodality. This was due to the ordinal nature of reference year and the scheduled pattern of
                                             interviews. The first interviews were conducted between 1993 and 1997 (Phase 1), while the
                                             follow-up Phase 2 interviews occurred between 1999 and 2005. When an individual
                                             participated in Phase 2, the most likely responses for reference year were 1) the year prior to
                                             the Phase 2 interview, 2) 5 years prior (year of Phase 1), or 3) the last year of farming prior
                                             to enrollment. This bimodal behavior seen in approximately 10% of the holdout dataset
                                             tended to occur in individuals who reported “no farming” or “no pesticide application” in
                                             Phase 2, and therefore a reference year for pesticide use in Phase 2 was irrelevant.

                                             Post-assessment of the holdout dataset, all of the observed data were used to generate the
                                             complete predictive model and populate the sampling data. The final multiple imputations
                                             were generated and prevalence estimates for the 50 pesticides in the imputed subset and
                                             overall are shown in Table 1.

                               DISCUSSION
                                             The lifetime exposure of an individual to a specific pesticide or set of pesticides is the
                                             primary quantity of interest in the AHS for studying the association between exposure and
NIH-PA Author Manuscript




                                             disease outcomes. A substantial number of AHS participants were non-responders to a Phase
                                             2 questionnaire used to update lifetime pesticide use following enrollment. In analyses,
                                             imputation is generally preferable to omitting individuals who did not complete Phase 2 (in
                                             our case, 37% of enrolled individuals) due to possible selection bias in the subset with
                                             complete data and decreased precision of parameter estimates using only a subset of the
                                             data. This paper illustrates the use of a multi-step, conditional imputation procedure
                                             combining parametric modeling and sampling from an empirical distribution for several
                                             variable types. Using multiple imputation, the variables necessary to calculate exposure for
                                             those missing Phase 2 data are replaced by five imputed values. For validation purposes, we
                                             estimated prevalence of pesticide use and showed the form of the variance estimate for
                                             prevalence resulting from multiple imputation. Prevalence estimates for the Phase 2 non-
                                             responders were slightly lower than in the responders and this is likely due to the slightly
                                             different makeup of individuals in each. Logistic regression is known to perform sub-
                                             optimally when modeling rare events,14 which may explain the low imputed prevalence
                                             estimates in the validation set; the underestimation makes our imputation slightly
                                             conservative, favoring specificity over sensitivity.

                                             Rubin’s method of scalar estimands in multiple imputation procedures15 is generalizable and
NIH-PA Author Manuscript




                                             can be used to calculate standard errors and confidence intervals for any estimator including
                                             risk ratios, absolute risk, and hazard ratios. We applied fractional hot deck imputation16 to
                                             impute days/year use of a pesticide, for which other variance estimators have been
                                             proposed;16–19 however, their utility has not been explored here.

                                             Multiple imputation, in contrast to single imputation, accounts for the uncertainty of
                                             predicting missing data with limited loss of efficiency (nearly 94% efficient when imputed
                                             five times with 35% missing data, as opposed to 74% efficiency with a single imputation1).
                                             The observed data, together with the five imputed values for missing variables, generate five
                                             complete datasets to be analyzed by standard statistical techniques resulting in five slightly
                                             different results. These results and their variance/covariance matrices are combined to
                                             represent the variability induced by the imputing process. For simplicity, modeling and
                                             sampling were performed using the single set of observed complete data, as opposed to first
                                             bootstrapping the complete data to perform a proper imputation, which accounts for


                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                   Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 9 of 20
                           Heltshe et al.                                                                                                                  Page 8


                                             variability of regression parameter estimates used in the imputation.1 An assessment of
                                             proper versus improper imputation on a dataset similar to the AHS shows mixed results.20
                                             Multiple imputation was chosen for pesticide use in the AHS over other approaches such as
NIH-PA Author Manuscript




                                             probability weighting or the EM algorithm21 because of its familiarity and ease of use.
                                             Providing a single set of multiply imputed data will facilitate consistent results in future
                                             analyses.

                                             A key assumption of any imputation is that missingness is independent of the unobserved
                                             outcome of interest or unobservable confounders (i.e., missing at random). The reduction of
                                             bias and increase in precision from multiple imputations is dependent on the covariates
                                             associated with both non-response and the endpoint variable,22 and factors associated with
                                             non-participation, which were included in our imputation model. For our imputation
                                             analysis, the “outcome” of interest is the missing pesticide use itself; Montgomery et al.10
                                             show there is little evidence for selection bias in Phase 2 of the AHS, however missing at
                                             random is an untestable assumption without additional data; thus it is possible that non-
                                             responders differ from responders in variables we have not measured. It is worth
                                             emphasizing that the set of individuals with both Phase 1 and 2 responses had a full range of
                                             exposure, including those who were no longer farming, and therefore our data-driven
                                             imputation approach did not necessitate that non-responders be imputed as active pesticide
                                             users. To implement multiple imputation, missingness may be conditional on observable
                                             covariates from Phase 1 and our models incorporated covariates associated with Phase 2
NIH-PA Author Manuscript




                                             pesticide use in constructing the values for missing data.

                                             As was done for information collected from participants who completed the Phase 2
                                             questionnaire, for epidemiologic analyses, the imputed pesticide use information has been
                                             cumulatively added to information collected in Phase 1. This multiple imputation will allow
                                             for bias reduction and improved efficiency in future analyses of the AHS.

                               Acknowledgments
                                             This work is supported by the Intramural Research Program of the National Cancer Institute at the National
                                             Institutes of Health (grant number Z01-CP010119); and the National Institute of Environmental Health Sciences at
                                             the National Institutes of Health (grant number Z01-ES049030). The United States Environmental Protection
                                             Agency through its Office of Research and Development collaborated in the research described here. It has been
                                             subjected to Agency review and approved for publication. The findings and conclusions in this report are those of
                                             the authors and do not necessarily represent the views of the National Institute for Occupational Safety and Health.


                               REFERENCES
                                             1. Rubin, DB. Multiple Imputation of Nonresponse in Surveys. J.Wiley and Sons; New York, NY:
NIH-PA Author Manuscript




                                                1987.
                                             2. Schafer JL, Ezzatti-Rice TM, Johnson W, Khare M, Little RJA, Rubin DB. The NHANES III
                                                multiple imputation project. Proc Survey Res Methods Section Am Stat Assoc. 1996:28–37.
                                             3. Mislevy RJ, Johnson EG, Muraki E. Scaling procedures in NAEP. J Educational Stat. 1992; 17:131–
                                                154.
                                             4. Stuart EA, Azur M, Frangakis C, Leaf P. Multiple imputation with large data sets: a case study of
                                                the children’s mental health initiative. Am J Epidemiol. 2009; 169(9):1133–1139. [PubMed:
                                                19318618]
                                             5. Kang T, Kraft P, Gauderman WJ, Thomas D. Multiple imputation methods for longitudinal blood
                                                pressure measurements from the Framingham Heart Study. BMC Genet. 2003; 4(suppl 1):S43.
                                                [PubMed: 14975111]
                                             6. Alavanja MC, Sandler DP, McMaster SB, Zahm SH, McDonnell CJ, Lynch CF, et al. The
                                                Agricultural Health Study. Environ Health Perspect. 1996; 104:362–369. [PubMed: 8732939]




                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                  Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 10 of 20
                           Heltshe et al.                                                                                                     Page 9


                                             7. National Cancer Institute. National Institutes of Health. Agricultural Health Study (AHSQ).
                                                [Accessed November 8, 2010] Full Text of Questionnaires. 2010. www.aghealth.org/
                                                questionnaires.html
NIH-PA Author Manuscript




                                             8. Tarone RE, Alavanja MC, Zahm SH, Lubin JH, Sandler DP, McMaster SB, et al. The Agricultural
                                                Health Study: factors affecting completion and return of self-administered questionnaires in a large
                                                prospective cohort study of pesticide applicators. Am J Ind Med. 1997; 31:223–242. [PubMed:
                                                9028439]
                                             9. Dosemeci M, Alavanja MC, Rowland AS, Mage D, Zahm SH, Rothman N, et al. A quantitative
                                                approach for estimating exposure to pesticides in the agricultural health study. Ann Occup Hyg.
                                                2002; 46(2):245–260. [PubMed: 12074034]
                                             10. Montgomery MP, Kamel F, Hoppin JA, Freeman L.E. Beane, Alavanja MC, Sandler DP. Effects
                                                 of self-reported health conditions and pesticide exposures on probability of follow-up in a
                                                 prospective cohort study. Am J Ind Med. 2010; 53:486–496. [PubMed: 20017198]
                                             11. Brier GW. Verification of forecasts expressed in terms of probability. Monthly Weather Rev. 1950;
                                                 78(1):1–3.
                                             12. Murphy SH. Hedging and skill scores for probability forecasts. J Appl Meteor. 1973; 12(1):215–
                                                 223.
                                             13. Parker RA, Davis RB. Evaluating whether a binary decision rule operates better than chance. Biom
                                                 J. 1999; 41:25–31.
                                             14. King G, Zeng L. Logistic regression in rare events data. Political Anal. 2001; 9:137–163.
                                             15. Little, RJA.; Rubin, DB. Statistical Analysis with Missing Data. 2nd edn. J.Wiley and Sons; New
NIH-PA Author Manuscript




                                                 York, NY: 2002.
                                             16. Kim JK, Fuller WA. Fractional hot deck imputation. Biometrics. 2004; 91(3):559–578.
                                             17. Rao JNK, Shao J. Jackknife variance estimation with survey data under hot deck imputation.
                                                 Biometrika. 1992; 79:811–822.
                                             18. Rubin DB, Schenker N. Multiple imputation for interval estimation from simple random samples
                                                 with ignorable nonresponse. J Am Stat Assoc. 1986; 81:366–374.
                                             19. Tollefson M, Fuller WA. Variance estimation for samples with random imputation. American
                                                 Statistical Association Proceedings of the Section of Survey Research Methods. 1992; 15:758–
                                                 763.
                                             20. Heitjan DF, Little RJA. Multiple imputation for the fatal accident reporting system. Appl Stat.
                                                 1991; 40:13–29.
                                             21. Dempster AP, Laird NM, Rubin DB. Maximum likelihood from incomplete data via the EM
                                                 algorithm. J R Stat Soc Ser B. 1977; 39(1):1–38.
                                             22. Spratt M, Carpenter J, Sterne JA, Carlin JB, Heron J, Henderson J, et al. Strategies for multiple
                                                 imputation in longitudinal studies. Am J Epidemiol. 2010; 172(4):478–487. [PubMed: 20616200]
NIH-PA Author Manuscript




                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                  Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 11 of 20
                           Heltshe et al.                                                                                            Page 10
NIH-PA Author Manuscript
NIH-PA Author Manuscript




                                             Figure 1.
                                             Scatterplot of Brier skill score versus sensitivity + specificity for commonly used pesticides
                                             (P>0.05%).
NIH-PA Author Manuscript




                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                  Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 12 of 20
                           Heltshe et al.                                                                                        Page 11
NIH-PA Author Manuscript
NIH-PA Author Manuscript




                                             Figure 2.
                                             Relative errors of imputed prevalence or percent usage (p) for commonly used pesticides
                                             (P>0.05%).
NIH-PA Author Manuscript




                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                  Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 13 of 20
                           Heltshe et al.                                                                                         Page 12
NIH-PA Author Manuscript
NIH-PA Author Manuscript




                                             Figure 3.
                                             Box plots of observed and imputed days/year use of 2,4-D, alachlor, and diazinon in the
                                             holdout subset of the AHS.
NIH-PA Author Manuscript




                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                  Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 14 of 20
                           Heltshe et al.                                                                                          Page 13
NIH-PA Author Manuscript
NIH-PA Author Manuscript




                                             Figure 4.
                                             Histogram display of the distribution of imputed Phase 2 reference year by true, observed
                                             reference year in the holdout dataset of the AHS.
NIH-PA Author Manuscript




                                            J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                    Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 15 of 20
                           Heltshe et al.                                                                                        Page 14




                                                                                        Table 1
                           Phase 2 (1999–2005) pesticide usage in the AHS: observed and imputed.
NIH-PA Author Manuscript




                                                                            Prevalence estimates (%)

                                                             Observed     Imputeda     Observed and
                                                            (N=36,342)   (N=20,968)       imputeda
                                                                                         (N=57,310)
                            Personally mix/load/apply            85.21         82.82           84.33
                            any pesticides
                            METHYL BROMIDE                        0.51          0.49            0.51
                            ALUMINUM PHOSPHIDE                    0.79          0.84            0.81
                            CARBON TETRACHLORIDE/                 0.00          0.00            0.00
                            DISULFIDE
                            ETHYLENE-DIBROMIDE                    0.03          0.02            0.03
                            BENOMYL                               0.40          0.30            0.36
                            CHLOROTHALONIL                        2.53          2.75            2.61
                            CAPTAN                                2.37          1.65            2.11
                            MANEB/MANCOZEB                        0.18          0.14            0.16
                            METALAXYL                             2.52          2.60            2.55
NIH-PA Author Manuscript




                            ZIRAM                                 0.10          0.08            0.10
                            ATRAZINE                             31.16         25.86           29.22
                            DICAMBA                              19.35         15.31           17.87
                            CYANAZINE                             1.64          1.44            1.57
                            CHLORIMURON-ETHYL                     3.24          3.19            3.22
                            METOLACHLOR                          14.74         13.03           14.11
                            EPTC                                  0.35          0.30            0.33
                            ALACHLOR                              2.81          2.49            2.69
                            METRIBUZIN                            1.96          1.62            1.84
                            PARAQUAT                              2.08          2.19            2.12
                            PETROLEUM OIL/PETROL.                 0.58          0.41            0.52
                            DISTILLATES
                            PENDIMETHALIN                        11.71         10.77           11.37
                            IMAZETHAPYR                           8.16          6.68            7.62
                            GLYPHOSATE                           51.82         43.98           48.95
                            SILVEX                                0.00          0.00            0.00
NIH-PA Author Manuscript




                            BUTYLATE                              0.09          0.08            0.09
                            TRIFLURALIN                          11.10          9.13           10.38
                            2,4-D                                37.32         29.54           34.47
                            2,4,5-T                               0.14          0.11            0.13
                            PERMETHRIN (for crops)                3.17          2.73            3.01
                            PERMETHRIN (for animals)              3.12          2.29            2.82
                            TERBUFOS                              3.79          3.47            3.67
                            FONOFOS                               0.17          0.17            0.17
                            TRICHLORFON                           0.20          0.19            0.20
                            LINDANE                               1.31          0.92            1.17




                                               J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                     Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 16 of 20
                           Heltshe et al.                                                                                          Page 15




                                                                                   Prevalence estimates (%)

                                                                Observed          Imputeda    Observed and
NIH-PA Author Manuscript




                                                               (N=36,342)        (N=20,968)      imputeda
                                                                                                (N=57,310)
                               CARBOFURAN                              1.35            1.21            1.30
                               CHLORPYRIFOS                            8.93            7.97            8.58
                               MALATHION                             12.78            10.00          11.76
                               PARATHION                               0.00            0.00            0.00
                               CARBARYL                                9.06            6.63            8.17
                               DIAZINON                                2.91            2.42            2.73
                               ALDICARB                                1.67            2.31            1.91
                               PHORATE                                 0.72            0.82            0.75
                               ALDRIN                                  0.00            0.00            0.00
                               CHLORDANE                               0.05            0.00            0.03
                               DIELDRIN                                0.00            0.00            0.00
                               DDT                                     0.00            0.00            0.00
                               HEPTACHLOR                              0.01            0.00            0.00
                               TOXAPHENE                               0.01            0.00            0.01
NIH-PA Author Manuscript




                               COUMAPHOS                               0.44            0.28            0.38
                               DICHLORVOS                              0.61            0.47            0.56

                           a
                            Imputed prevalence is average of five imputations.
NIH-PA Author Manuscript




                                                 J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                  Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 17 of 20
                           Heltshe et al.                                                                                            Page 16




                                                                                                 Table 2
                           Phase 1 candidate covariates to predict use of any pesticide in Phase 2 (1999–2005) of AHS.
NIH-PA Author Manuscript




                            Demographics

                               Age (AGE_AT_ENROLLMENT)a

                               Sex (GENDER)a

                               State (SITE)a
                               County (COUNTY)

                               Professional/private license type (APP_TYPE)a

                               Marital status / family size (AMARITAL)a

                               Education (ASCHOOL, collapsed)a
                            Farm characteristics

                               Owner (AOWNFARM)a

                               Farm size (AACRES)a
                            Pesticide use

                               Years mixing pesticides (AYRSMIX)a
NIH-PA Author Manuscript




                               Days/year mixing pesticides (AMIXDPY)a

                               Percent Mix (APCTMIX)a

                               Percent Apply (APCTAPPL)a
                               Application Methods (AAPMTH1 - AAPMTH21)

                                 Do not personally apply (AAPMTH 1)b

                                 Hand spray gun application (AAPMTH 4)b

                                 Backpack spray application (AAPMTH 5)b

                                 In furrow or banded application (AAPMTH 8)b
                               Application Uses (APSTAP1 - APSTAP17)

                                 Rodent control (APSTAP2)b

                                 Highway right-of-way weed control (APSTAP6)b

                                 Herbicide (weed killers) applications to farm crops (APSTAP9)b
                                 Insecticide applications to farm animals/animal shelters
                                 (APSTAP12)b
NIH-PA Author Manuscript




                                 Fungicides (chemicals for controlling disease on crops)
                                 (APSTAP16)b
                                 Fumigants (gases or liquids that turn into gas when released)
                                 (APSTAP17)b

                                 Application in past 12 mos (APSTAP18)a
                               Personal Protective Equipment (APROTEQ1- APROTEQ8)

                                 Chemical resistant gloves (APROTEQ7)b
                               Crops and Amimals (ACRPAN1 - ACRPAN8)

                                 No Crops or animals (ACRPAN2)b
                            Medical conditions




                                                   J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                     Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 18 of 20
                           Heltshe et al.                                                                                             Page 17




                                  Diagnosis of various conditions and diseases (A_MEDCOND5 -
                                  A_MEDCOND56)
                                    Ever diagnosed with other chronic lung disease
NIH-PA Author Manuscript




                                    (A_MEDCOND10)b

                                    Ever diagnosed with Diabetes (A_MEDCOND16E)b

                           a
                            Covariates forced into the model.
                           b
                               Covariates selected for the final model in step-wise selection process.
NIH-PA Author Manuscript
NIH-PA Author Manuscript




                                                    J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                                                                  NIH-PA Author Manuscript                                NIH-PA Author Manuscript                                       NIH-PA Author Manuscript


                                                                                                                                                                 Table 3
                                                                                  Prevalence, standard error and Brier scores of pesticide use in holdout dataset (N = 7269) of the AHS.

                                                                                                                                         Observed                          Imputeda
                                                                                   Pesticide name                                                                                      Reference Brier   Brier score   Brier skill score
                                                                                                                                                                                                                                           Heltshe et al.




                                                                                                                   Prevalence (%)   Standard error   Prevalence (%)   Standard error
                                                                                   METHYL BROMIDE                            0.43        0.08                  0.56        0.12             0.004          0.004                −0.001
                                                                                   ALUMINUM PHOSPHIDE                        0.59        0.09                  0.71        0.13             0.006          0.005                  0.149
                                                                                   BENOMYL                                   0.37        0.07                  0.29        0.08             0.004          0.004                −0.007
                                                                                   CHLOROTHALONIL                            2.39        0.18                  2.33        0.26             0.023          0.018                  0.214
                                                                                   CAPTAN                                    2.12        0.17                  2.11        0.28             0.021          0.020                  0.053
                                                                                   MANEB/MANCOZEB                            0.15        0.05                  0.18        0.06             0.002          0.002                −0.020
                                                                                   METALAXYL                                 2.66        0.19                  2.09        0.23             0.026          0.023                  0.124
                                                                                   ZIRAM                                     0.12        0.04                  0.11        0.05             0.001          0.001                  0.090
                                                                                   ATRAZINE                                 31.85        0.55                 27.64        0.69             0.217          0.177                  0.185
                                                                                   DICAMBA                                  19.16        0.46                 17.39        0.48             0.155          0.128                  0.177
                                                                                   CYANAZINE                                 1.75        0.15                  1.50        0.21             0.017          0.017                  0.029
                                                                                   CHLORIMURON-ETHYL                         2.93        0.20                  2.93        0.36             0.028          0.027                  0.050
                                                                                   METOLACHLOR                              14.87        0.42                 13.23        0.55             0.127          0.113                  0.109
                                                                                   EPTC                                      0.30        0.06                  0.30        0.09             0.003          0.003                −0.003
                                                                                   ALACHLOR                                  2.82        0.19                  2.43        0.32             0.027          0.026                  0.052
                                                                                   METRIBUZIN                                2.19        0.17                  1.75        0.22             0.021          0.021                  0.022
                                                                                   PARAQUAT                                  1.91        0.16                  1.88        0.22             0.019          0.017                  0.086
                                                                                   PETRO. OIL/PETRO. DISTILLATES             0.47        0.08                  0.60        0.13             0.005          0.005                −0.006
                                                                                   PENDIMETHALIN                            11.24        0.37                 10.36        0.48             0.100          0.093                  0.068
                                                                                   IMAZETHAPYR                               7.76        0.31                  7.36        0.39             0.072          0.067                  0.070




J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                                                                   GLYPHOSATE                               52.73        0.59                 45.42        0.83             0.249          0.225                  0.097
                                                                                   TRIFLURALIN                              10.58        0.36                 10.21        0.58             0.095          0.080                  0.157
                                                                                   2,4-D                                    36.92        0.57                 33.30        0.86             0.233          0.190                  0.184
                                                                                   PERMETHRIN (for crops)                    3.36        0.21                  2.71        0.24             0.032          0.031                  0.036
                                                                                   PERMETHRIN (for animals)                  3.05        0.20                  2.83        0.33             0.030          0.028                  0.061
                                                                                   TERBUFOS                                  3.80        0.22                  3.38        0.33             0.037          0.033                  0.095
                                                                                   FONOFOS                                   0.17        0.05                  0.15        0.07             0.002          0.002                −0.009
                                                                                                                                                                                                                                                            Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 19 of 20
                                                                                                                                                                                                                                           Page 18
                                                                                  NIH-PA Author Manuscript                                 NIH-PA Author Manuscript                                                 NIH-PA Author Manuscript


                                                                                                                                                                      Observed                               Imputeda
                                                                                                    Pesticide name                                                                                                       Reference Brier   Brier score   Brier skill score
                                                                                                                                            Prevalence (%)      Standard error      Prevalence (%)      Standard error
                                                                                                    TRICHLORFON                                         0.17          0.05                      0.13         0.05             0.002          0.002                −0.028
                                                                                                    LINDANE                                             1.39          0.14                      1.07         0.18             0.014          0.013                  0.046
                                                                                                                                                                                                                                                                             Heltshe et al.




                                                                                                    CARBOFURAN                                          1.36          0.14                      1.14         0.24             0.013          0.013                  0.014
                                                                                                    CHLORPYRIFOS                                        8.87          0.33                      7.90         0.46             0.081          0.074                  0.081
                                                                                                    MALATHION                                          12.88          0.39                     11.50         0.49             0.112          0.103                  0.083
                                                                                                    CARBARYL                                            9.34          0.34                      7.69         0.65             0.085          0.079                  0.072
                                                                                                    DIAZINON                                            2.94          0.20                      2.71         0.28             0.029          0.028                  0.027
                                                                                                    ALDICARB                                            1.66          0.15                      1.57         0.18             0.016          0.012                  0.256
                                                                                                    PHORATE                                             0.59          0.09                      0.69         0.17             0.006          0.006                −0.024
                                                                                                    COUMAPHOS                                           0.56          0.09                      0.33         0.10             0.006          0.005                  0.056
                                                                                                    DICHLORVOS                                          0.65          0.09                      0.48         0.12             0.006          0.006                  0.010

                                                                                                a
                                                                                                 Imputed prevalence is average of five imputations and standard error is calculated via equation in text.




J Expo Sci Environ Epidemiol. Author manuscript; available in PMC 2012 July 13.
                                                                                                                                                                                                                                                                                              Case 3:16-md-02741-VC Document 653-18 Filed 10/28/17 Page 20 of 20
                                                                                                                                                                                                                                                                             Page 19
